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  6

  7                                 UNITED STATES DISTRICT COURT
  8
                                   CENTRAL DISTRIT OF CALIFORNIA
  9

 10 NATALIE GORDON, Derivatively on Behalf of
    Nominal Defendant EDISON
 11 INTERNATIONAL,                            CASE NO. : 14-CV-01058 ODW-ASx
 12                           Plaintiff,
 13
            v.
 14
    JAGJEET S. BINDRA, FRANCE A.
 15 CÓRDOVA, BRADFORD M. FREEMAN,
    RONALD L. OLSON, THOMAS C. SUTTON, VERIFIED AMENDED SHAREHOLDER
 16 PETER J. TAYLOR, VANESSA C. L. CHANG,
                                          DERIVATIVE COMPLAINT
 17 THEODORE   F. CRAVER, JR., LUIS G.
    NOGALES, RICHARD T. SCHLOSBERG, III, JURY TRIAL DEMANDED
 18 BRETT WHITE, ROBERT L. ADLER, MARK
    CLARKE, WILLIAM J. SCILACCI and
 19 BERTRAND A. VALDMAN

 20
                              Defendants,
 21
            and
 22
      EDISON INTERNATIONAL,
 23
                              Nominal Defendant.
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                        VERIFIED AMENDED SHAREHOLDER DERIVATIVE COMPLAINT
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  1          Plaintiff Natalie Gordon (“Plaintiff”), by and through her attorneys, derivatively on

  2 behalf of nominal defendant Edison International (“EIX” or the “Company”), submits this

  3 Verified Amended Shareholder Derivative Complaint against the directors and officers named

  4 herein (collectively, the “Individual Defendants”).       Plaintiff’s allegations are based upon

  5 personal knowledge as to herself and her own acts, and upon information and belief developed

  6 from the investigation and analysis of her counsel, which includes, among other things, the

  7 review of certain of the Company’s Board of Director (“Board”) minutes garnered through a

  8 request for such information pursuant to California Corporations Code § 1601 and California

  9 common law, public filings by EIX with the U.S. Securities and Exchange Commission (“SEC”),

 10 as well as, press releases, news reports, analyst reports, complaints pending against the Company

 11 in state and federal courts, and other information available in the public domain.

 12        I.       NATURE OF THE ACTION

 13              1. This is a shareholder derivative action brought for the benefit of nominal defendant

 14 EIX against certain members of its Board and executive officers seeking to remedy defendants’

 15 breaches of fiduciary duties.

 16              2. EIX was incorporated on April 20, 1987, under the laws of the State of California

 17 for the purpose of becoming the parent holding company of Southern California Edison Company

 18 (“SCE”), a California public utility corporation, Edison Mission Energy (“EME”), an independent
 19 power producer, and Edison Capital, an infrastructure finance company. EME is an indirect,

 20 wholly-owned subsidiary of EIX.

 21              3. Since its founding in 1986, EME has functioned not as an independent company

 22 looking out for the best interest of its investors but as EIX’s own personal piggy bank. This has

 23 been allowed to occur because EME’s officers and directors have been personally hand-picked by

 24 EIX with the purpose of operating EME for EIX’s sole benefit.

 25              4. For years, EIX has personally profited from its various subsidiaries by ordering
 26 these companies to make capital payments or pay dividends for EIX’s benefit. For example, in

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  1 2007, EIX directed EME to pay a dividend of $899 million to its corporate parent Mission Energy

  2 Holding Company (“MEHC”), so that MEHC could pay off senior note obligations that were due.

  3 This transaction harmed EME because EME was forced to pay this dividend payment by issuing

  4 its own senior notes. EME was forced to make the payment and took on the interest expense

  5 associated with the senior notes, at a period when EME was nearly insolvent. Moreover, EME was

  6 not an obligor on MEHC’s senior notes and MEHC did not guarantee EME’s new senior notes.

  7 Therefore, while this transaction clearly benefitted MEHC, and EIX, by reducing the interest

  8 expense for the overall EIX organization, it clearly provided no apparent benefit to EME as EME’s

  9 eventual bankruptcy was now a foregone conclusion.

 10             5. In addition to the fact that EME now had billions of dollars in debt obligation, at the

 11 end of 2008, EME’s business began to suffer as the coal industry declined. As EME’s financial

 12 condition worsened and became public news, EIX’s stock price declined, due in part to the fact

 13 that the market and investors believed that EIX would have to contribute capital to support EME.

 14 Around this time, the Individual Defendants started scrambling to protect EIX’s interests and

 15 distance EIX from EME as it was clear that EME would have problems making the required

 16 payments due on its senior notes. As a result in or around 2009, EIX’s Chief Executive Officer,

 17 President and Chairman of the Board Theodore F. Craver (“Craver”) began publicly stating that

 18 EIX would not give any more capital to EME causing EIX’s stock price to increase, but leaving
 19 EME with no solution to the cash crisis foisted upon it by the Individual Defendants.

 20             6. By 2011, EME continued to have significant financial problems, including but not

 21 limited to, an imminent cash crunch as well as revolving credit lines that would terminate in 2012

 22 and $500 million in senior notes set to mature in 2013.

 23             7. Despite having essentially bled EME dry, the Individual Defendants showed no

 24 remorse to EME’s position and instead made the decision to have EIX abandon EME by allowing

 25 EME to file for chapter 11 bankruptcy and deconsolidate EME from the EIX empire. Before

 26 discarding EME by the wayside, however, the Individual Defendants caused EIX to engage in one
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  1 last scheme to take full financial advantage of EME, and simultaneously putting EIX in harm’s

  2 way.

  3             8. The Individual Defendants did this by having EIX make one last unwarranted cash

  4 withdrawal of $183 million from EME under tax sharing agreements by and between the various

  5 EIX entities and then subsequently amending the tax sharing agreements to terminate EME,

  6 effectively stripping EME of billions of dollars in crucial payments over the next few years.

  7 Again, the sole purpose of this transaction was to funnel cash to EIX at the expense of EME and its

  8 creditors, including a very powerful block of senior noteholders whose very existence was the

  9 product of the Individual Defendants’ wrongdoing. EIX was able to carry out this scheme by

 10 exploiting its parent position over EME since EIX’s own high-level executives also sat on the

 11 EME Board of Directors and were instructed to act solely for the benefit of EIX, to the detriment

 12 of EME.

 13             9. As the Individual Defendants knew would happen, EME entered bankruptcy, and

 14 the ramifications of this bankruptcy for both EME and EIX have been severe. In connection with

 15 EME’s Chapter 11 bankruptcy proceeding which involved an investigation into EME’s insolvency,

 16 the committee of EME’s unsecured creditors (the “Creditors’ Committee”) filed a motion

 17 requesting the right to sue EIX, claiming the Company drained EME of billions of dollars in value.

 18 Specifically, the Creditors Committee sought bankruptcy-court approval to pursue legal claims
 19 related to the “abusive domination and control” of EME by EIX and to recover, among other

 20 things, the billions of dollars EME transferred to EIX plus additional compensatory and punitive

 21 damages. The Creditors’ Committee’s motion was supported by the Ad Hoc Committee of Senior

 22 Noteholders (the “Ad Hoc Group”). As noted in the Creditor Committee’s motion, the Ad Hoc

 23 Group represents approximately $2.8 billion of the claims at EME and the vast majority of those

 24 claims, approximately $1.9 billion, arise from the notes forced upon EME by the Individual

 25 Defendants’ scheme to unburden MEHC of its debt to the detriment of EME. In addition, EME

 26 also indicated to the bankruptcy court that it was prepared to make similar allegations against EIX.
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  1             10. Due to the culpability of the Individual Defendants, on February 18, 2014 EIX had

  2 no choice but to enter into a settlement agreement with EME and a majority of EME’s senior

  3 unsecured noteholders, resolving all the claims between EME and EIX relating to EME’s

  4 bankruptcy (the “Settlement Agreement”). The Settlement Agreement will be incorporated into

  5 EME’s Plan of Reorganization.

  6             11. Under EME’s proposed Chapter 11 Plan of Organization, EIX loses almost all of

  7 EME’s business and assets as substantially all of the assets of EME are to be sold to NRG Energy,

  8 Inc. (“NRG Energy”) for $2.64 billion. Had the Individual Defendants not forced EME to incur

  9 MEHC’s debt, EME would never had had to declare bankruptcy and been deconsolidated from the

 10 EIX enterprise in the first place thus EIX would have been able to retain EME’s assets, or at least,

 11 not been forced to watch EME sell its assets to NRG for what analysts agree is a paltry purchase

 12 price.

 13             12. Under the Settlement Agreement, EIX will continue to own EME as an indirect,

 14 wholly owned subsidiary and EME will be free and clear of liabilities once the EME

 15 reorganization is completed.

 16             13. Upon the approval of the Plan of Reorganization, all assets and liabilities of EME

 17 that are not otherwise discharged in the bankruptcy or transferred to a subsidiary of NRG Energy

 18 will be transferred to a newly formed trust or other entity under the control of EME’s existing
 19 creditors. EME is expected to have an estimated $1.2 billion of unused tax attributes, mainly net

 20 operating losses and tax credits, once EME’s reorganization is completed.

 21             14. Pursuant to the Settlement Agreement, EIX has agreed to pay the trust or entity

 22 controlled by EME’s creditors 50% of the amount of unused tax attributes plus interest for deferred

 23 payments. Thus, under the terms of the Settlement Agreement, EIX is required to pay EME’s

 24 creditors a payment estimated to be $634 million plus interest, money that EIX always had rights

 25 to under tax sharing agreements and would never have been paid if the Individual Defendants had

 26 not breached their fiduciary duties.
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  1          15.     The Individual Defendants breached their fiduciary duties of loyalty and good faith

  2 by knowingly engaging in the illicit scheme against EME alleged herein, which has caused EIX to

  3 sustain damages, including but not limited to, the loss of EME’s assets and/or the loss of EME’s

  4 assets at a discounted purchase price, the costs and expenses incurred as a result of the litigation

  5 against EIX and the payment of $634 million to EME’s creditors. Moreover, this payment took

  6 place even though EIX and the Individual Defendants have always maintained that EIX was not

  7 and is not responsible for the debts of EME.

  8       II.        JURISDICTION AND VENUE

  9          16.     This Court has diversity jurisdiction over this action pursuant to 28 U.S.C. §1332.

 10 All defendants are completely diverse from the plaintiff and the amount in controversy exceeds

 11 $75,000.00.

 12          17.     This Court has personal jurisdiction over each of the defendants because each

 13 defendant is either a corporation conducting business and maintaining operations in this District, or

 14 is an individual who is either present in this District for jurisdictional purposes or has sufficient

 15 minimum contacts with this District so as to render the exercise of jurisdiction by this Court

 16 permissible under traditional notions of fair play and substantial justice.

 17          18.     Venue is proper in this District pursuant to 28 U.S.C. §1391 because (i) one or more

 18 of the defendants either resides or maintains executives offices in the District; (ii) a substantial
 19 portion of the transactions and wrongs complained of herein occurred in the District; and (iii)

 20 defendants have received substantial compensation and other transfers of money in the District by

 21 doing business and engaging in activities having an effect in the District.

 22      III.        THE PARTIES

 23          19.     Plaintiff is a shareholder of EIX, was a shareholder of EIX at the time of the

 24 wrongdoing complained of herein, and has been a shareholder of EIX continuously since that time.

 25 Plaintiff is a citizen of the State of New York.

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  1          20.    EIX is a California corporation that maintains headquarters in Rosemead,

  2 California. EIX, through its subsidiaries, generates and distributes electric power. The Company

  3 also invests in transportation infrastructure and energy assets, including renewable energy.

  4          21.    Defendant Jagjeet S. Bindra (“Bindra”) has been a director of EIX and Southern

  5 California Edison Company (“SCE”) since 2010. Upon information and belief, Bindra is a citizen

  6 of the State of Texas.

  7          22.    Defendant France A. Córdova (“Córdova”) has been a director of EIX and SCE

  8 since 2004. Upon information and belief, Córdova is a citizen of the State of New Mexico.

  9          23.    Defendant Bradford M. Freeman (“Freeman”) has been a director of EIX and SCE

 10 since 2002. Upon information and belief, Freeman is a citizen of the State of California.

 11          24.    Defendant Ronald L. Olson (“Olson”) has been a director of EIX and SCE since

 12 1995. Upon information and belief, Olson is a citizen of the State of California.

 13          25.    Defendant Thomas C. Sutton (“Sutton”) has been a director of EIX and SCE since

 14 1995. Upon information and belief, Sutton is a citizen of the State of Michigan.

 15          26.    Defendant Peter J. Taylor (“Taylor”) has been a director of EIX and SCE since

 16 2011. Upon information and belief, Tayor is a citizen of the State of California.

 17          27.    Defendant Vanessa C. L. Chang (“Chang”) has been a Director EIX and SCE since

 18 2007. Upon information and belief, Chang is a citizen of the State of Texas.
 19          28.    Defendant Craver has been the Chairman of the Board, President, and Chief

 20 Executive Officer of EIX since 2008. He has been a Director of EIX since 2007 and of SCE since

 21 2008. He served as Chairman of the Board, President and Chief Executive Officer of Edison

 22 Mission Group (“EMG”) from 2005 to 2008, and, prior to that, Executive Vice President, Chief

 23 Financial Officer and Treasurer of EIX. Upon information and belief, Craver is a citizen of the

 24 State of California.

 25          29.    Defendant Luis G. Nogales (“Nogales”) has been a director of EIX and SCE since

 26 1993. Upon information and belief, Nogales is a citizen of the State of California.
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  1          30.     Defendant Richard T. Schlosberg, III (“Schlosberg”) has been a director of EIX and

  2 SCE since 2002. Upon information and belief, Schlosberg is a citizen of the State of Texas.

  3          31.     Defendant Brett White (“White”) has been a director of EIX and SCE since 2007.

  4 Upon information and belief, White is a citizen of the State of California.

  5          32.     Defendant Robert L. Adler (“Adler”) is executive vice president and general

  6 counsel for EIX. He joined EIX on July 1, 2008. Adler was a director of EME from August 1,

  7 2008 to 2012. Prior to joining EIX, Adler was a partner at Munger, Tolles & Olson LLP, where he

  8 represented EIX. Upon information and belief, Adler is a citizen of the State of California.

  9          33.     Defendant Mark Clarke (“Clarke”) is vice president and controller of EIX. Prior to

 10 his current role, Clarke was vice president and controller for EMG, which he joined in 1999.

 11 Clarke was a director of EME during the 2012 period. Upon information and belief, Clarke is a

 12 citizen of the State of California.

 13          34.     Defendant William J. Scilacci (“Scilacci”) has served as EIX’s executive vice

 14 president, chief financial officer (“CFO”) and treasurer since August 2008. Scilacci previously

 15 was senior vice president and CFO for three years for EMG. Prior to joining EMG, Scilacci was

 16 senior vice president and CFO of SCE. He joined SCE in 1984, was elected vice president and

 17 CFO in January 2000, and was elected senior vice president and CFO in January 2003. Scilacci

 18 was a director of EME from August 1, 2008 to 2012. Upon information and belief, Scilacci is a
 19 citizen of the State of California.

 20          35.     Defendant Bertrand A. Valdman (“Valdman”) is senior vice president of strategic

 21 planning for EIX. Valdman was a director of EME during the 2012 period. Upon information and

 22 belief, Valdman is a citizen of the State of Washington.

 23          36.     Defendants Bindra, Córdova, Freeman, Olson, Sutton, Taylor, Chang, Craver,

 24 Nogales, Schlosberg, White, Adler, Clarke, Scilacci and Valdman are referred to collectively

 25 herein as the “Individual Defendants.”

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  1       IV.        DUTIES OF THE INDIVIDUAL DEFENDANTS

  2          37.     By reason of their positions as officers and/or directors of the Company and

  3 because of their ability to control the business and corporate affairs of the Company, the Individual

  4 Defendants owed the Company and its shareholders the fiduciary obligations of good faith, loyalty,

  5 and candor and were and are required to use their utmost ability to control and manage the

  6 Company in a fair, just, honest, and equitable manner. The Individual Defendants were and are

  7 required to act in furtherance of the best interests of the Company and its shareholders so as to

  8 benefit all shareholders equally and not in furtherance of their personal interest or benefit. Each

  9 director and officer of the Company owes to the Company and its shareholders the fiduciary duty

 10 to exercise good faith and diligence in the administration of the affairs of the Company and in the

 11 use and preservation of its property and assets, and the highest obligations of fair dealing.

 12          38.     The Individual Defendants, because of their positions of control and authority as

 13 directors and/or officers of the Company, were able to and did, directly and/or indirectly, exercise

 14 control over the wrongful acts complained of herein.

 15          39.     To discharge their duties, the officers and directors of the Company were required

 16 to exercise reasonable and prudent supervision over the management, policies, practices and

 17 controls of the Company. By virtue of such duties, the officers and directors of the Company were

 18 required to, among other things:
 19
                    exercise good faith to ensure that the affairs of the Company were conducted in an
 20
                     efficient, business-like manner so as to make it possible to provide the highest
 21                  quality performance of its business;

 22                 exercise good faith to ensure that the Company was operated in a diligent, honest
                     and prudent manner and complied with the Company's by-laws and all applicable
 23                  federal and state laws, rules, regulations and requirements, including acting only
                     within the scope of its legal authority;
 24

 25                 when placed on notice of improper or imprudent conduct by the Company and/or its
                     employees, exercise good faith in taking action to correct the misconduct and
 26                  prevent its recurrence.

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   1         40.    At all relevant times thereto, Adler, Clarke, Craver, Scilacci and Valdman as

   2 officers of the Company were bound by EIX’s Employee Ethics and Compliance Code

   3 (“Employee Code”). The Employee Code states in relevant part:

   4         Fair Dealing
             We always should treat those with whom we work or do business fairly, honestly, and
   5         straightforwardly. We must never take unfair advantage of others through manipulation,
   6         concealment, abuse of privileged and confidential information, or misrepresentation. Our
             duty to act fairly extends to our customers, suppliers, contractors, competitors, coworkers,
   7         regulatory agencies, investors, and communities. Fairness is at the heart of our value of
             Respect.
   8

   9         Complying with Laws, Rules, Regulations, and Policies
             Edison employees must adhere to all laws, regulations, and other legal requirements that
  10         apply to our business. We can be a company and people with integrity only if we obey the
  11         law.
             Guiding Principles on Legal and Regulatory Compliance
  12         Our businesses are governed by many laws, rules, regulations, and regulatory decisions.
             We are regulated by the Federal Energy Regulatory Commission (FERC), California Public
  13         Utilities Commission (CPUC), Securities and Exchange Commission (SEC), Nuclear
             Regulatory Commission (NRC), North American Electric Reliability Corporation (NERC),
  14
             as well as federal and state environmental and occupational safety, health, and other
  15         agencies. While no one person could know every law, rule, or regulation, as a company we
             are accountable for obeying them all. There are no exceptions. You should become familiar
  16         with the legal and regulatory requirements that apply to your job and to the jobs of any
             employees who report to you. You also are expected to seek appropriate legal guidance and
  17         training as necessary in areas that relate to your responsibilities. We all share the
             responsibility for detecting and preventing noncompliance with legal and regulatory
  18
             requirements. We also share the responsibility for reporting any actual or suspected
  19         noncompliance. We are honest and straightforward in our discussions with regulatory
             agency representatives and government officials. During investigations, audits, and other
  20         inquiries, we fully cooperate with appropriate requests for information under the guidance
             of the Law Department.
  21

  22         Conflicts of Interest
             We are expected to act in Edison’s best interests. We should never use our position at
  23         Edison improperly to benefit personally or to benefit someone else or other organizations
             at the expense of Edison. Avoiding conflicts of interest is a key aspect of acting with
  24         integrity and striving for excellence.
             Avoiding Conflicts of Interest
  25         Situations where you may have a personal interest or potential gain that could be
  26         inconsistent with the company’s best interests may involve a conflict of interest. We must
             avoid conflicts of interest.
  27

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              We also should be wary of activities and relationships that could reasonably create the
   1          appearance of a conflict.
   2          Conflicts are likely if you are in a position to gain financially from decisions you make on
              behalf of the company or if a family member, relative, or friend is involved or could gain
   3          financially. We are expected to make those decisions unclouded by personal interests.
              You should report any potential conflict of interest to your manager or supervisor and
   4          resolve the conflict before proceeding. Even in cases where you believe no conflict is
              present, but you are aware there may be an appearance of a conflict, you should disclose
   5          and discuss this issue with your manager or supervisor.
   6          41.     Finally, at all relevant times thereto, Bindra, Córdova, Freeman, Olson, Sutton,
   7 Taylor, Chang, Craver, Nogales, Schlosberg and White as directors of the Company were bound

   8 by EIX’s Directors Ethics and Compliance Code (“Director Code”). The Employee Code states in

   9 relevant part:

  10          CONFLICTS OF INTEREST
  11          Directors are expected to avoid any actual conflicts of interest between them and the
              Company. In addition, Directors should also avoid even the appearance of a conflict of
  12          interest. Situations, including those with suppliers, contractual counterparties, competitors
              or charitable organizations, where a Director may have a personal interest or potential gain
  13          that is inconsistent with the Company’s best interests or make it difficult for the Director to
              exercise objective judgment may involve a conflict of interest. Conflicts of interest may
  14
              also arise when a Director, or member of his or her immediate family, receives improper
  15          personal benefits as a result of his or her position with the Company.

  16          COMPLIANCE WITH APPLICABLE LAWS
              Directors must conduct all their financial, business and other activities in full compliance
  17          with applicable laws, rules and regulations.
  18
              FAIR DEALING
  19          Directors shall endeavor to deal fairly with the Company’s employees, customers, suppliers
              and competitors. Directors shall not take unfair advantage through manipulation,
  20          concealment, abuse of privileged information, misrepresentation of material facts, or any
              other unfair-dealing practice.
  21
           V.         FACTS
  22
              A.      EIX’s Domination and Control of EME
  23
              42.     At all relevant times hereto, EIX has dominated and controlled EME and its other
  24
       various subsidiaries. EIX has two business segments for financial reporting purposes: an electric
  25
       utility operation segment (SCE) and a competitive power generation segment (EMG).
  26
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   1         43.     SCE is an investor-owned public utility primarily engaged in the business of

   2 supplying electricity to an approximately 50,000-square-mile area of southern California. EMG is

   3 the holding company for its principal wholly owned subsidiary, EME. EME is also a holding

   4 company with subsidiaries and affiliates engaged in the business of developing, acquiring, owning

   5 or leasing, operating and selling energy and capacity from independent power production facilities.

   6 EME's operating projects primarily consist of coal-fired generating facilities, natural gas-fired

   7 generating facilities and renewable energy facilities, which include wind projects and one biomass

   8 project.

   9         44.     There are two levels of holding companies between EME and EIX: 1) EME's

  10 parent company, MEHC, which owns 100% of EME’s common stock and; 2) EMG, which owns

  11 100% of MEHC’s common stock. EIX owns 100% of EMG.

  12         45.     Below is a chart demonstrating the EIX structure of its various subsidiaries:

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   1
                                               EIX
   2

   3

   4

   5    100% owner                                                         100% owner

   6

   7                    EMG                                          SCE
   8

   9

  10

  11

  12       100% owner

  13

  14                    MEHC
  15

  16

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  18
  19       100% owner
  20

  21
                         EME
  22

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  26       46.   EIX has always controlled EME and its management.
  27

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   1         47.     From 2004 to 2012, EME’s Board always consisted of three directors which

   2 included the President of EME, the CFO of EIX and the General Counsel of EIX.

   3         48.     EIX used EME as its personal training ground for EIX executives thus ensuring that

   4 EME employees would always have EIX’s interests at heart. EIX employees were regularly sent

   5 to EME to serve in senior positions before then being placed in executive officer positions at EIX

   6 and SCE. EIX also continuously alternated senior positions in EME thus ensuring that EME

   7 executives had loyalty to EIX first before EME.

   8         49.     The goal was made clear to all EME employees – promotion to a position at EIX.

   9 This way, EIX ensured that EME officers were always concerned about what was best for EIX, not

  10 EME. This was in addition to the fact that the EIX Board has always approved the executive

  11 compensation for EME officers ensuring EME officers’ utmost devotion. See February 25, 2010

  12 EIX Board Meeting Minutes attached hereto as Exhibit A at 6 [EIX000257-263]; February 23,

  13 2012 EIX Board Meeting Minutes attached hereto as Exhibit B at 5 [000003-8]; February 24, 2011

  14 EIX Board meeting minutes attached hereto as Exhibit C at 7 [EIX000009-15].

  15         50.     In fact, some of the Individual Defendants are prime examples of EME officers who

  16 were eventually “promoted” to EIX officers. Craver was EIX’s CFO and Treasurer from January

  17 2000 through December 2004, before he became Chairman, President and CEO of EME. Craver

  18 served as at these positions at EME from January 2005 through April 2008, when he was
  19 eventually appointed to his current positions of President and Chairman of EIX.         Likewise,

  20 Scilacci served as Senior Vice President and CFO at SCE from January 2003 through 2005 before

  21 he was appointed CFO of EME in 2005. He was EME’s CFO from 2005 until August 2008 until

  22 he was eventually promoted to his current position as CFO of EIX.

  23         51.     Third, EIX always represented that it and EME were one company. In EME’s

  24 public filings, EME always referred to itself a subsidiary of “Edison International” and EME and

  25 EIX shared similar logos. EIX’s financial reports were also telling because EIX’s annual reports

  26 contained consolidated financial statements for EIX and its subsidiaries and affiliated companies
  27 (the “Consolidated Group”) including EME and listed EME’s senior notes as part of EIX

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   1 Consolidated Group’s long term debt. Lastly, EIX always publicly represented to the public and

   2 analysts that if necessary, EIX would support EME by making capital contributions to EME so that

   3 EME could meet its debts.

   4          B.     EIX Causes EME to Pay Illegal Dividends to MEHC

   5          52.    In 2006, EIX was publicly representing that it would contribute capital to EME. The

   6 market reacted favorably to this news and as a result, S&P upgraded its credit rating of EME.

   7          53.    The truth of the matter was that EME was in desperate need of cash from EIX by

   8 the end of 2006. In EME’s Form 10-K for the 2006 fiscal year, EME reported total assets of $7.25

   9 billion and total liabilities of $4.6 billion. Additionally, EME was responsible for approximately

  10 $2.9 billion in additional capital expenditures in connection with Midwest Generation, LLC

  11 (“Midwest Generation”), one of EME’s subsidiaries.

  12          54.    On December 12, 2006, EME disclosed an agreement in principle with the Illinois

  13 Environmental Protection Agency to reduce certain emissions at Midwest Generation’s Illinois

  14 plant. EME forecast that approximately $2.7 to $3.4 billion would have to be spent to meet these

  15 requirements.

  16          55.    EME’s financial condition did not improve in fiscal year 2007. In EME’s Form 10-

  17 K for the 2007 fiscal year, EME reported total assets of $7.3 billion and total liabilities of $5.3

  18 billion, however, EME was also still on the hook for the $2.9 billion in additional capital
  19 expenditures with regard to Midwest Generation making it real liabilities at least $8.2 billion.

  20          56.    At this same time, MEHC had outstanding senior notes due. In July 2001, MEHC

  21 issued $800 million of 13.50% senior secured notes due 2008. MEHC was the sole obligor on its

  22 13.5% notes and EME, nor any of its subsidiaries, had any obligation to make payment in

  23 connection with the notes.

  24          57.    Despite the fact that EIX knew that EME was in actuality insolvent, EIX caused

  25 EME to pay two dividends totaling approximately $924 million to MEHC in order to pay off

  26 MEHC’s notes.
  27

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   1          58.    The first dividend payment occurred in January 2007 when EIX caused EME to pay

   2 a total of $25 million in dividends to MHE (“January 2007 Dividend”). MEHC used the proceeds

   3 of the January 2007 Dividend to make payments on its senior secured notes.

   4          59.    The January 2007 Dividend, however, was not enough to dig MEHC out of its hole.

   5 Thus, the second dividend, in the amount of $899 million, occurred in May 2007 (the “May 2007

   6 Dividend” and collectively with the January 2007 Dividend the “Dividends”) and while the May

   7 2007 Dividend eliminated MEHC’s debt it severely weakened EME’s financial condition.

   8          60.    According to EME’s Form 10-K for fiscal year 2007:

   9          In May 2007, EME completed a private offering of $1.2 billion of its 7.00%
  10          senior notes due May 15, 2017, $800 million of its 7.20% senior notes due May
              15, 2019 and $700 million of its 7.625% senior notes due May 15, 2027. EME
  11          used the net proceeds, together with cash on hand, to repay debt and make a
              dividend payment of $899 million to MEHC, which enabled MEHC to purchase
  12          substantially all of its 13.5% senior secured notes due 2008. In June 2007, MEHC
              redeemed in full its senior secured notes.
  13
              61.    Notably, EME had the ability to raise these funds due, in part, to its upgraded credit
  14
       rating which was the result of EIX’s strategic planning to make false representations to the market
  15
       that it would give EME capital funding to help EME’s financial condition.
  16
              62.    EIX was allowed to order EME to go through with this transaction because the
  17
       EME Board was stacked with EIX insiders. Specifically, on the EME Board at that time was
  18
       defendant Craver (currently EIX’s CEO), Thomas R. McDaniel (“McDaniel”) (then EIX’s CFO)
  19
       and J.A. Bouknight, Jr. (“Bouknight”) (then EIX’s General Counsel). EIX officers McDaniel and
  20
       Bouknight not only controlled EME’s board but also MEHC’s board as MEHC’s board consisted
  21
       of McDaniel, Bouknight and John E. Bryson (then EIX’s CEO and Chairman of MEHC’s board).
  22
              63.    As a result of the Dividends, EIX’s Board comprised of defendants Cordova,
  23
       Freeman, Olson, Sutton, Nogales and Schlosberg and defendant Craver who was also a EME
  24
       director knowingly burdened EME with roughly $924 million in debt. The Dividends were unfair
  25
       to EME because it received no consideration from MEHC from this exchange. EME was never an
  26
  27

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   1 obligor or guarantor on the debt repaid by MEHC and MEHC did not provide a guarantee of

   2 EME’s new debt obligations.

   3         64.     In sum, the Dividends allowed MEHC to pay its senior notes in full while reducing

   4 the EME’s assets by approximately $924 million. Egregiously, these transactions were done at

   5 time when EME was already on the brink of insolvency, if not actually insolvent. Unfortunately,

   6 for EME creditors, the payment of the Dividends ensured that EME would not be able to pay its

   7 own burgeoning debt when it became due and made EME’s bankruptcy an eventuality.

   8         65.     Moreover, the senior noteholders who purchased EME’s senior notes went on to

   9 make up a majority of the unsecured debt in EME’s bankruptcy and supported the Creditors’

  10 Committee’s attack on EIX which resulted in a $634 million payment to EME’s unsecured

  11 creditors by EIX. A payment for which EIX should never have been responsible for.

  12         C.      EIX Reasserts Control Over EME’s Board and its Financial Alternatives

  13         66.     Starting in 2009, due to, among other things, uncertain market conditions and

  14 increased capital expenditures EME’s performance was significantly declining. Since EIX had

  15 always represented to the market that it was one company with EME, the market believed that

  16 EME would receive additional capital from EIX. As a result, EIX’s stock price likewise started to

  17 decline.

  18         67.     Realizing that EME’s performance was harming EIX’s stock price, defendant
  19 Craver, who was now CEO of EIX, started representing to analysts and the market that EIX would

  20 not contribute capital to EME to help the company financially recover. As a result, EIX’s stock

  21 price started to rebound while EME’s bond prices continued to fall.

  22         68.     By mid-year 2010, the market saw the writing on the wall that EME was in serious

  23 financial trouble and faced severe liquidity problems due to the fact that $500 million of EME's

  24 senior notes would mature in 2013, and EME would not have enough cash to pay this debt.

  25         69.     At all times the Board was well aware of EME’s dire financial condition as the

  26 Board was continuously updated regarding EME’s financial condition, including its risks, current
  27 capital and future forecast. See February 25, 2010 EIX Board Meeting Minutes attached hereto as

  28                                                 17
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   1 Exhibit A at 2 [EIX000257-263]; April 22, 2010 EIX Board Meeting Minutes attached hereto as

   2 Exhibit D at 2 [EIX000264-269]; December 9, 2010 EIX Board Meeting Minutes attached hereto

   3 as Exhibit E at 3 [EIX000244-250]; December 8, 2011 EIX Board Meeting Minutes attached

   4 hereto as Exhibit F at 2, 4 [EIX000270-275].

   5         70.     Further statements by EIX that it would not help EME with its financial debt,

   6 further served to increase EIX’s stock price while again sending EME’s bonds price downward.

   7 Nonetheless, by mid-2012 it was the EIX Board calling the shots and negotiating with EME’s

   8 noteholders. See EIX’s February 23, 2012 Board meeting minutes attached hereto as Exhibit B at

   9 2 [EIX000003-8] (“The EIX Board and management discussed…potential EMG discussions with

  10 bondholders. The EIX Board commended EMG’s management’s work in addressing the issue”);

  11 EIX’s September 6, 2012 Board meeting minutes attached hereto as Exhibit G at 3 [EIX 000183-

  12 188].

  13         71.     Indeed, in May 2012, defendant Craver was openly telling the market that it was

  14 EIX, not EME that was negotiating with EME's senior noteholders making clear that EIX was

  15 controlling EME and deciding EME’s financial fate, a fact that should surprise no one given the

  16 vast majority of EME’s senior noteholders very existence was due to the Individual Defendants’

  17 misuse of EME.

  18         72.     In July 2012, EME also expanded its Board. In light of EME's worsening financial
  19 condition and EME's 2013 note maturity date looming, EIX decided to stack EME's Board with

  20 additional EIX insiders to ensure complete control. On July 10, 2012, four directors were added to

  21 the EME Board: non-EIX executives Frederic F. Brace and Hugh E. Sawyer and EIX executives

  22 Clarke (EIX's Controller) and Valdman (EIX’s Senior Vice President for Strategic Planning).

  23         73.     At this time, EME’s Board already consisted of the following: EIX’s CFO Scilacci,

  24 EIX’s General Counsel Adler and EME President Pedro Pizarro (“Pizarro”). Notably, Pizarro was

  25 always in EIX’s pocket and never had EME’s best interests at heart due to the fact that his

  26 executive pay has always been approved by EIX’s Board. See EXI’s June 23, 2011 Board meeting
  27 minutes attached hereto as Exhibit H at 2 [EIX 000165-167].

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   1          D.     The Tax Sharing Agreements Were EME’s Most Valuable Asset

   2          74.    As discussed above, the Consolidated Group filed a single, consolidated federal

   3 income tax return (and similar state tax returns) that enabled the group to offset the taxable income

   4 of one member with losses from one another. In the Consolidated Group, the terms apportioning

   5 tax expenses and benefits amongst the Consolidated Group are set forth in certain tax sharing

   6 agreements (the “Tax Sharing Agreements”). Pursuant to the Tax Sharing Agreements, the taxable

   7 gains and losses of each subsidiary are usually calculated independently, but companies with gains

   8 who owe taxes are able to offset those gains with the losses of other companies who are party to

   9 the Tax Sharing Agreements. Generally, this results in subsidiaries with gains being required to

  10 make payments to members of the group with operating losses as a fee for the tax payment offsets.

  11 As a result, EME through payments received via the Tax Sharing Agreements, had been able to

  12 mitigate some of its operational losses during its recent financially unsuccessful period.

  13          75.    EME had not been performing well for the past few years. At the same time, other

  14 members of the Consolidated Group that normally generate taxable income have had tax losses

  15 due to bonus depreciation rules. Thus, losses have been carried forward to future periods rather

  16 than being monetized on a current basis. Accordingly, EME anticipated that payments to it under

  17 the Tax Sharing Agreements would be a significant cash flow in the next coming years. For

  18 instance, in 2009, EME received $187 million under the Tax Sharing Agreements for its 2009
  19 federal tax benefits.

  20          76.    Given that the Tax Sharing Agreements were projected to generate significant

  21 liquidity in the coming years, the Tax Sharing Agreements were an important asset to EME. EME,

  22 however, could only realize the benefit of the Tax Sharing Agreements if EME continued to be

  23 part of the EIX enterprise and the Tax Sharing Agreements remained valid.

  24          77.    The Board always had full knowledge the Tax Sharing Agreement and its

  25 importance to EME given the Board was always kept apprised of EME “tax issues.”                  See

  26 September 2, 2010 EIX Board Meeting Minutes attached hereto as Exhibit I at 4 [EIX177-182].
  27

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             E.     EIX Wrongfully Causes EME To Make An $183 Million Payment Under
   1                The Guise of the Tax Sharing Agreements
   2         78.    From around 2005 to 2008, EME was a net provider to EIX’s earnings and
   3 produced tax obligations for which it made payments to EIX. However, by 2009, EME was on the

   4 brink of insolvency and therefore had produced net losses. Under the Tax Sharing Agreements,

   5 when filing tax returns EIX had used EME’s net losses to shield a significant amount of otherwise

   6 taxable income generated by other Consolidated Group members, particularly SCE.

   7         79.    Even though EME continued to produce net losses and EME’s bankruptcy was
   8 imminent, EIX decided to take money from EME under the guise of the Tax Sharing Agreements.

   9 On September 27, 2012, a few months before EME filed for Chapter 11 bankruptcy in December

  10 2012, EIX caused EME to pay EIX approximately $183 million in a tax sharing payment (the “Tax

  11 Sharing Payment”) which EIX then paid to SCE. It is reasonable to assume that the improper Tax

  12 Sharing Payment was discussed by the Board in the months leading up to the payment. See June

  13 21, 2012 EIX Board meeting minutes          attached hereto as Exhibit J at 1 [EIX000037-39]
  14 (Defendants Craver, Bindra, Chang, Córdova, Freeman, Nogales, Olson, Schlosberg, Sutton,

  15 Taylor, Adler, Scilacci, Valdman and White discussed “new growth opportunities, EIX capital

  16 allocation” and “EME strategy”).

  17         80.    There was no credible reason for EIX to cause EME to make this payment under the
  18 Tax Sharing Agreement. Defendants Bindra, Córdova, Freeman, Olson, Sutton, Taylor, Chang,
  19 Craver, Nogales, Schlosberg, and White as EIX and SCE directors together with Adler, Clarke,

  20 Scilacci and Valdman as EME directors designed and executed the Tax Sharing Payment knowing

  21 that EME’s finances were severely strained and that bankruptcy was already a foregone conclusion

  22 for EME. The Individual Defendants approved the Tax Sharing Payment to drain whatever assets it

  23 could from EME before it filed for bankruptcy.

  24         81.    The sole purpose of this transaction was to funnel cash to SCE and the EIX
  25 enterprise at the expense of EME and its creditors. The Individual Defendants simply decided to

  26 put EIX ahead of EME’s creditors. They decided the $183 million looked better in the pockets of
  27

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   1 EIX than EME’s creditors. The problem of course is the Individual Defendants chosen course of

   2 action ended up putting $634 million in the pockets of EME’s creditors.

   3         82.          In fact, the Individual Defendants’ actions clearly violated 11 U.S.C. § 548 of the

   4 Bankruptcy Code which states:

   5 (a)

   6               (1) The trustee may avoid any transfer (including any transfer to or for the benefit of an

   7                      insider under an employment contract) of an interest of the debtor in property, or

   8                      any obligation (including any obligation to or for the benefit of an insider under an

   9                      employment contract) incurred by the debtor, that was made or incurred on or

  10                      within 2 years before the date of the filing of the petition, if the debtor voluntarily

  11                      or involuntarily—

  12               (A)made such transfer or incurred such obligation with actual intent to hinder, delay, or

  13                      defraud any entity to which the debtor was or became, on or after the date that such

  14                      transfer was made or such obligation was incurred, indebted; or

  15               (B)

  16               (i) received less than a reasonably equivalent value in exchange for such transfer or

  17                      obligation; and

  18               (ii)
  19               (I)was insolvent on the date that such transfer was made or such obligation was

  20                      incurred, or became insolvent as a result of such transfer or obligation; . . .

  21               (IV)made such transfer to or for the benefit of an insider, or incurred such obligation to

  22                      or for the benefit of an insider, under an employment contract and not in the

  23                      ordinary course of business.

  24         83.          It was undeniably clear to the Individual Defendants that the Tax Sharing Payment

  25 would run afoul of the Bankruptcy Code’s prohibition against fraudulent transfers.

  26         84.          There was no justification for EME to have made the Tax Sharing Payment since
  27 the Tax Sharing Payment was not required of EME under the Tax Sharing Agreements. Moreover,

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   1 at that time, EME owed interest payments of $97.5 million due on certain of its senior notes on

   2 November 15, 2012 and $38.1 million on certain other senior notes due December 15, 2012. $500

   3 million of senior notes were additionally set to mature in 2013.

   4          85.    At the time of the Tax Sharing Payment, the Board was well aware of EME’s

   5 financial problems, including EME’s looming debt problems, since discussions regarding EME’s

   6 financing plans and forecasts were routinely discussed throughout the years leading to the Tax

   7 Sharing Payment. See June 24, 2010 EIX Board meeting minutes attached hereto as Exhibit K at 4

   8 [EIX000168-171] (“management and the Board engaged in an extensive review and discussion

   9 of…EMG's strategic alternatives, and EIX, SCE and EMG financial forecasts”); February 24, 2011

  10 EIX Board meeting minutes attached hereto as Exhibit C at 5 [EIX000009-15] (reported on

  11 “updates to the SCE and EME 2011 financing plans”).

  12          86.    The Board was particularly knowledgeable that EME could not meet its notes

  13 obligations when they came due having had numerous discussions regarding EME’s notes debt. In

  14 a March 18, 2011 Board meeting, defendants Craver, Bindra, Chang, Córdova, Freeman, Olson,

  15 Schlosberg, White, Adler, Valdman and Scilacci were informed on EME’s “debt maturities.” See

  16 March 18, 2011 EIX Board meeting minutes attached hereto as Exhibit L at 2 [EIX000020-21];

  17 see also April 26, 2011 EIX Board meeting minutes attached hereto as Exhibit M at 2 [000024-28]

  18 (Board was updated on “EMG liquidity and financing options” and “external experts retained to
  19 provide advice on liquidity issues, tax issues affecting EMG liquidity, and potential restructuring

  20 options”); May 25, 2012 EIX Board Meeting Minutes attached hereto as Exhibit N at 2

  21 [EIX000035-36] (defendant Adler provided an “update on EMG, including the status of

  22 engagement with Edison Mission Energy bondholders”).

  23          87.    Likewise, in a Board meeting held on September 6, 2012, a mere 21 days before the

  24 Tax Sharing Payment occurred, defendant Adler was reporting to the EIX Board (defendants

  25 Craver, Bindra, Chang, Córdova, Freeman, Nogales, Olson, Schlosberg, Sutton, Taylor and White)

  26 and defendant Scilacci on the “EME Restructuring Report.” See Exhibit G at 3. Specifically,
  27 defendant Adler reported to the Board with regard to “the EME restructuring process, discussions

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   1 with EME bondholders’ advisors and factors affecting EIX’s position in negotiations with the

   2 advisors.” Id. Defendant Craver, in turn, “commented on EIX’s position in negotiations with EME

   3 bondholders’ advisors.” Id. The EIX Board was also informed of “EME’s liquidity and business

   4 conditions.” Id. at 4.

   5          88.    Thus, there is no doubt that the Board was intimately familiar with EME’s financial

   6 crisis and was being continuously informed regarding EME’s restructuring such that they knew

   7 that EME was insolvent and could not meet its obligations as they came due. Despite this

   8 knowledge, the Board still improperly transferred $183 million to EIX via the Tax Sharing

   9 Payment causing significant harm to EME and its creditors.

  10
              F.     Immediately After EME Pays the Tax Sharing Payment the Individual
  11                 Defendants Strip EME of the Tax Sharing Agreements
  12          89.    Once EIX received the Tax Sharing Payment, Bindra, Córdova, Freeman, Olson,
  13 Sutton, Taylor, Chang, Craver, Nogales, Schlosberg, White, Adler, Clarke, Scilacci and Valdman

  14 saw no further use for EME. To add insult to injury, despite the fact that EME paid the Tax

  15 Sharing Payment to EIX under the Tax Sharing Agreements, a little over a month later, EIX sent

  16 written notice to EME via EMG that the Tax Sharing Agreements would terminate with respect to

  17 EME on December 31, 2012. That same day, Clarke as President of EMG executed a modification

  18 of the Tax Sharing Agreements terminating them with regard to EME effective December 31,
  19 2013. As a result, EME would no longer receive any payments from EIX and its subsidiaries for

  20 any net losses produced by EME therefore causing EME to be cut off from all benefits after

  21 December 31, 2013.

  22          90.    To review, the Board (defendants Bindra, Córdova, Freeman, Olson, Sutton, Taylor,
  23 Chang, Craver, Nogales, Schlosberg and White), who are also SCE directors, and defendants

  24 Adler, Clarke, Scilacci and Valdman as EME directors caused EME to pay an unwarranted $183

  25 million payment under the Tax Sharing Agreements to SCE via EIX and once this improper

  26 transaction occurred, they immediately terminated the Tax Sharing Agreement with respect to
  27

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   1 EME. As discussed above, the Tax Sharing Agreements were EME’s most valuable asset as the

   2 payments from the Tax Sharing Agreements were expected to bring substantial revenue to EME

   3 for the next couple of years.

   4          91.    The Individual Defendants also sought to manipulate the timing of EME’s

   5 bankruptcy filing to EIX’s advantage, specifically delaying commencement of the bankruptcy so

   6 that EIX could adversely amend the Tax Sharing Agreement to provide for termination of EME’s

   7 participation in the Tax Sharing Agreement, before the bankruptcy was initiated. Notably, at the

   8 time EME was stripped of its interest in the Tax Sharing Agreement EIX controlled the EME

   9 Board and therefore had authority over the timing of EME’s bankruptcy.

  10          92.    Defendants Bindra, Córdova, Freeman, Olson, Sutton, Taylor, Chang, Craver,

  11 Nogales, Schlosberg, and White as EIX and SCE directors together with Adler, Clarke, Scilacci

  12 and Valdman as EME directors exerted their controls over EME to ensure that the Tax Sharing

  13 Agreements were in place at the time EME made the $183 million payment before allowing EME

  14 to file for bankruptcy. This is demonstrated by the fact that during an October 25, 2012 EIX Board

  15 meeting attended by defendants Craver, Bindra, Chang, Córdova, Freeman, Nogales, Schlosberg,

  16 Sutton, Olson and White, defendant Adler discussed with defendant Scilacci and the Board

  17 “governance changes likely to result from an EME bankruptcy” and “personnel and tax impacts.”

  18 See October 25, 2012 EIX Board meeting minutes attached hereto as Exhibit O at 2 [EIX000228-
  19 232].

  20          93.    A filing for a Chapter 11 bankruptcy would have protected EME and its creditors

  21 because EIX would not have been able to terminate the Tax Sharing Agreements unless it could

  22 establish adequate grounds to obtain relief from the automatic stay placed on bankruptcy cases and

  23 obtain bankruptcy court approval to terminate the agreements. The Individual Defendants, who

  24 only had EIX’s interests at heart, obviously could not allow this happen.

  25          G.     EME Files For Bankruptcy

  26          94.    Due to EIX forcing EME to make the Tax Sharing Payment, EME could not make
  27 payments on its senior notes specifically a scheduled $97.5 million interest payment due

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   1 November 15, 2012. The 30 day payment grace period expired on December 15, 2012, when

   2 EME was supposed to make an additional $38.1 million interest payment on other senior notes.

   3 These are payments that could easily have been made but for the $183 million Tax Sharing

   4 Payment. Having failed to make these payments, EME filed for bankruptcy on December 17,

   5 2012.

   6         95.     On the day before EME filed its bankruptcy petition, December 16, 2012, EIX,

   7 EMG, MEHC, EME, and the ad hoc committee of holders of EME’s senior notes (the “Ad Hoc

   8 Group”) entered into the Transaction Support Agreement. The Transaction Support Agreement

   9 was approved by the Board (defendants Craver, Bindra, Chang, Córdova, Freeman, Nogales,

  10 Olson, Schlosberg, Sutton, Taylor and White) at the December 13, 2012 Board meeting which was

  11 also attended by defendants Adler, Scilacci, Valdman.       See December 13, 2012 EIX Board

  12 meeting minutes attached hereto as Exhibit P at 2 [EIX000251-256].

  13         96.     The purpose of the Transaction Support Agreement was for the Individual

  14 Defendants to avoid liability with regard to their part in defrauding EME and its creditors. Under

  15 the terms of the Transaction Support Agreement, EIX, EMG and MEHC would permit EME to

  16 remain in the Consolidated Group and receive payments due under the Tax Sharing Agreements

  17 until December 31, 2014. In return, EME was required to give full releases of EIX, EMG and

  18 MEHC, and each of their officers and directors including the Individual Defendants.         These
  19 releases were the payoff that EIX required for the paltry exchange of an additional year of

  20 payments under the Tax Sharing Agreements.

  21
             H.      The Creditors’ Committee Seeks Standing to Sue EIX and the Individual
  22                 Defendants Due to Their Role in Defrauding EME and its Creditors
  23         97.     In connection with EME’s bankruptcy proceeding, on January 31, 2013, the
  24 bankruptcy court entered an order authorizing the EME debtors and the Creditors’ Committee to

  25 conduct an examination of EIX and certain related parties pursuant to Rule 2004 of the Bankruptcy

  26 Rules (the “2004 Order”). The objective of the 2004 Order was to permit the debtors of EME to
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   1 investigate potential claims and causes of action against EIX that would be released by the

   2 proposed settlement set forth in the Transaction Support Agreement.

   3          98.    Under the 2004 Order, the Creditors’ Committee had reviewed more than 147,000

   4 documents, roughly 1 million pages, produced by EIX and analyzed certain transactions and other

   5 related matters. The Creditors’ Committee has also received another 5,860 documents produced

   6 by the EME debtors.

   7          99.    On July 31, 2013, the Creditors’ Committee filed a motion requesting the right to

   8 sue EIX claiming it improperly drained EME of billions of dollars, as described herein.

   9 Specifically, the Creditors’ Committee sought bankruptcy-court approval to pursue legal claims

  10 related to the “abusive domination and control” of EME by EIX. As a result of its examination of

  11 EIX, the Creditors’ Committee stated that it had already uncovered facts supporting numerous

  12 valuable claims against EIX, various EIX subsidiaries and certain current and former directors of

  13 EME and EIX including the Individual Defendants. These claims included, among other things,

  14 fraud, negligent misrepresentation, breach of fiduciary duty and unjust enrichment.

  15          100.   In connection with their motion, the Creditors’ Committee filed a proposed

  16 complaint with the bankruptcy court naming each of the Individual Defendants as defendants,

  17 alleging that EIX defrauded EME by effectuating fraudulent transfers of EME’s assets to EIX via

  18 the Dividends and the Tax Sharing Payment and seeking the repayments of claims that the Creditor
  19 Committee stated were worth billions of dollars plus compensatory and punitive damages.

  20          101.   Even though EME also indicated to the bankruptcy court that it had also been

  21 preparing to make similar allegations against EIX, the Creditors Committee requested the

  22 bankruptcy court to let it sue on behalf of EME, stating EME has “numerous” conflicts of interest

  23 to pursue legal action against EIX including the fact that EME’s Board was controlled by EIX at

  24 all times during the improper transactions complained of.

  25          102.   The Creditors Committee also urged the bankruptcy court to force EIX to cooperate

  26 with its investigation into legal claims against EIX, arguing that EIX’s refusal to do so had
  27 “severely prejudiced” their efforts. In court papers, the Creditors Committee alleged, among other

  28                                                  26
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   1 things, that “EIX has improperly refused to produce thousands of documents...and has instructed

   2 its employees not to answer certain questions in depositions related to EME.”

   3         103.    Unsurprisingly, once the extent of EIX and the Individual Defendants’ misconduct

   4 was revealed from the Creditors’ Committee’s investigation, on July 25, 2013 the Ad Hoc Group

   5 provided notice to EIX that it was terminating the Transaction Support Agreement. Moreover, the

   6 Ad Hoc Group supports the Creditor’s Committee motion to pursue claims against EIX. As noted

   7 above, this is significant for two reasons: (1) the Ad Hoc Group holds in the aggregate the vast

   8 majority of EME’s unsecured debt; and (2) the vast majority of the Ad Hoc Group’s debt is made

   9 up of senior noteholders who came into being because of the Individual Defendants’ scheme to

  10 have EME pay off MEHC’s debt.

  11
             I.      EIX Enters Into a Settlement Agreement with EIX and EIX’s Creditors to
  12                 the Tune of $634 Million
  13         104.    Faced with the writing on the wall, the Individual Defendants had no other recourse
  14 but to settle the Creditors’ Committee’s and EME’s proposed claims against EIX. On February 18,

  15 2014, the Settlement Agreement was reached between EIX, EME and a majority of EME’s

  16 creditors. The Settlement Agreement resolves all claims between EME and EIX related to the

  17 EME bankruptcy and requires bankruptcy court approval. The Settlement Agreement will be

  18 incorporated into EME’s Plan of Reorganization.
  19         105.    Under the EME’s proposed Chapter 11 Plan of Organization, EIX loses EME’s
  20 assets as substantially all of EME’s assets are to be sold to NRG Energy for a purchase price of

  21 $2.64 billion. Therefore, as a result of the Individual Defendants’ misconduct in forcing EME to

  22 incur MEHC’s debt and the subsequent bankruptcy and deconsolidation of EME, EIX loses EME’s

  23 assets, and in fact, losses them at a reduced purchase price. According to analyst Travis Miller,

  24 for Morningstar Inc., when discussing NRG’s purchases price for EME’s assets, “We think that

  25 NRG can integrate these units and they didn’t pay very much from them.”

  26
  27

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                        VERIFIED AMENDED SHAREHOLDER DERIVATIVE COMPLAINT
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   1          106.   Under the Settlement Agreement, EME, which will be free and clear of liabilities

   2 once the EME reorganization is completed, will continue to be an indirect wholly owned

   3 subsidiary of EIX and EIX will consolidate EME for income tax purposes.

   4          107.   Subsequent to the sale of EME’s assets and the discharge of its liabilities, EME is

   5 currently expected to have an estimated $1.2 billion of unused tax attributes, mainly net operating

   6 losses. Upon the approval of the Plan of Reorganization, all assets and liabilities of EME that are

   7 not otherwise discharged in the bankruptcy or transferred to a subsidiary of NRG Energy will be

   8 transferred to a newly formed trust or other entity under the control of EME’s existing creditors

   9 (the “Reorganization Trust”).

  10          108.   Pursuant to the Settlement Agreement, EIX will pay EME creditors 50% of the

  11 amount of unused tax attributes plus interest for deferred payments, thus EIX is required to

  12 essentially share the value of these tax attributes on a 50/50 basis with EME’s creditors.

  13 Specifically, EIX has two sets of obligations under the Settlement Agreement.

  14          109.   First, when EME’s Plan of Reorganization is completed, EIX will make a payment

  15 of $225 million and issue two coupon notes to the Reorganization Trust. The notes of $199

  16 million and $210 million will have payment dates of September 30, 2015 and September 30, 2016,

  17 respectively, and these notes include 5% interest on the remaining amounts. Accordingly, the total

  18 amount of notes that EIX has to pay to the Reorganization Trust is a staggering $634 million.
  19          110.   The $634 million payment is a direct result of the Individual Defendants’ breaches

  20 of fiduciary duty. Pursuant to the Tax Sharing Agreements, and prior to any wrongdoing by the

  21 Individual Defendants, EIX always had the authority to utilize tax losses and credits generated by

  22 EME and EME was required to make tax-allocation payments to EIX for EIX’s sole benefit.

  23 Therefore, EIX always had rights to the full $1.2 billion of EME’s tax benefits.

  24          111.   As a consequence of unlawfully depleting EME by the Dividends and the Tax

  25 Sharing Payment, EIX had no choice but to agree to the Settlement Agreement, which now

  26 mandates EIX to share EME’s $1.2 billion tax benefits on a 50/50 basis with the Reorganization
  27 Trust resulting in a payment of $634 million to EME’s creditors.

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   1           112.   The second obligation under the Settlement Agreement is that EIX will retain

   2 liabilities for certain retirement benefits and for federal and state income taxes. The total of these

   3 assumed liabilities, which EIX was previously obligated, is approximately $350 million.

   4           113.   But most importantly to the Individual Defendants, it gets them back the release

   5 from liability they so desperately wanted when they had the EIX companies enter into the

   6 Transaction Support Agreement, only this time it cost EIX $634 million.

   7      VI.         THE INDIVIDUAL DEFENDANTS’ BREACHES OF FIDUCIARY DUTY

   8           114.   In breach of their fiduciary duties of loyalty and good faith, defendants Bindra,

   9 Córdova, Freeman, Olson, Sutton, Taylor, Chang, Craver, Nogales, Schlosberg, White, Adler,

  10 Clarke, Scilacci and Valdman knowing caused EIX to unlawfully deplete EME as described

  11 herein.

  12           115.   Defendants Bindra, Córdova, Freeman, Olson, Sutton, Taylor, Chang, Craver,

  13 Nogales, Schlosberg, White, Adler, Clarke, Scilacci and Valdman knew that:

  14              a) EME received nothing of value in exchange for the Dividends and the Tax Sharing

  15                  Payments;

  16              a) The sole purpose of the Dividends and the Tax Sharing Payment was to funnel cash

  17                  to EIX at the expense of EIX and its creditors;

  18              b) At the time of the Tax Sharing Payment, EME’s financial situation was hopeless
  19                  and thus the objective of the Tax Sharing Payment was to strip EME of all valuable

  20                  assets before EME filed for bankruptcy; and

  21              c) The timing of EME’s bankruptcy had to be manipulated so that EIX could terminate

  22                  the valuable Tax Sharing Agreements before EME filed for bankruptcy.

  23           116.   Defendants Bindra, Córdova, Freeman, Olson, Sutton, Taylor, Chang, Craver,

  24 Nogales, Schlosberg, White, Adler, Clarke, Scilacci and Valdman’s decision to cause EIX to

  25 unlawfully deplete EME by the Dividends and the Tax Sharing Payment, was not, and could not

  26 possibly have been, the product of a good faith exercise of business judgment.
  27

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                         VERIFIED AMENDED SHAREHOLDER DERIVATIVE COMPLAINT
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   1          117.    As a direct and proximate cause of Bindra, Córdova, Freeman, Olson, Sutton,

   2 Taylor, Chang, Craver, Nogales, Schlosberg, White, Adler, Clarke, Scilacci and Valdman’s

   3 breaches of fiduciary duties, EIX has sustained damages, including but not limited to, the loss of

   4 EME’s assets and/or the loss of EME’s assets at a discounted purchase price, the costs and

   5 expenses incurred as a result of the litigation against EIX and the payment of $634 million to

   6 EME’s creditors.

   7     VII.        DERIVATIVE AND DEMAND EXCUSED ALLEGATIONS

   8          118.   Plaintiff brings this action derivatively in the right and for the benefit of EIX to

   9 redress breaches of fiduciary duties.

  10          119.   Plaintiff will adequately and fairly represent the interests of the Company and its

  11 shareholders in enforcing and prosecuting its rights.

  12          120.   As a result of the facts set forth herein, Plaintiff has not made any demand on the

  13 EIX Board to institute this action against the Individual Defendants. Such demand would be a

  14 futile and useless act because the Board is incapable of making an independent and disinterested

  15 decision to institute and vigorously prosecute this action.

  16          121.   At the time this action was commenced, the Board consisted of twelve directors:

  17 non-defendant Ellen O. Tauscher and defendants Bindra, Córdova, Freeman, Olson, Sutton,

  18 Taylor, Chang, Craver, Nogales, Schlosberg and White.
  19          122.   A majority of the Board is incapable of disinterestedly and independently

  20 considering a demand to commence and vigorously prosecute this action for the

  21 following reasons:

  22                 a.      Defendants Cordova, Freeman, Olson, Sutton, Nogales and
                             Schlosberg as EIX directors and Craver as an EME director are
  23
                             substantially likely to be held liable for breaching their fiduciary
  24                         duties by defrauding EME and its creditors, including but not
                             limited to causing EME to pay the Dividends as complained of
  25                         herein;
  26                 b.      Defendants Bindra, Córdova, Freeman, Olson, Sutton, Taylor,
                             Chang, Craver, Nogales, Schlosberg and White are substantially
  27

  28                                                   30
                          VERIFIED AMENDED SHAREHOLDER DERIVATIVE COMPLAINT
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                         likely to be held liable for breaching their fiduciary duties by
   1                     defrauding EME and its creditors, by including but not limited to
   2                     causing EME to make the Tax Sharing Payment as complained of
                         herein;
   3
                 c.      Defendants Bindra, Córdova, Freeman, Olson, Sutton, Taylor,
   4                     Chang, Craver, Nogales, Schlosberg and White face additional
                         substantial likelihood of liability as they were named defendants in
   5                     the proposed action the Creditors Committee sought to bring on
                         behalf of EME in EME’s bankruptcy proceeding which EIX was
   6
                         forced to settle for, among other things, a payment of $634 million.
   7                     Bindra, Córdova, Freeman, Olson, Sutton, Taylor, Chang, Craver,
                         Nogales, Schlosberg and White are unable to pursue derivative
   8                     claims because they would be substantiating their culpability in
                         connection with the Creditors Committee’s proposed action and
   9                     subsequent settlement against them and therefore Bindra, Córdova,
  10                     Freeman, Olson, Sutton, Taylor, Chang, Craver, Nogales,
                         Schlosberg and White are conflicted from investigating the
  11                     Company’s misconduct and cannot independently consider a
                         demand;
  12
                 d.      Defendants Bindra, Cordova, Freeman, Olson, Sutton, Taylor,
  13                     Chang, Craver, Nogales, Schlosberg and White face additional
                         substantial likelihood of liability because they were SCE directors
  14
                         at the time of the Tax Sharing Payment, and used their position to
  15                     benefit SCE, and accordingly EIX, to the detriment of EME. In
                         causing SCE to receive the improper Tax Sharing Payment, they
  16                     consciously disregarded their responsibilities to SCE and abdicated
                         their duties as SCE directors and therefore Bindra, Cordova,
  17                     Freeman, Olson, Sutton, Taylor, Chang, Craver, Nogales,
                         Schlosberg and White are conflicted from investigating the
  18
                         misconduct alleged herein and cannot independently consider a
  19                     demand;

  20             e.      Defendant Craver’s principal professional occupation is his
                         position as EIX’s Chairman, President and CEO. In his position as
  21                     Chairman, President and CEO which the Company recognizes
                         makes him non-independent, Craver stands to earn millions of
  22
                         dollars in annual salary, bonuses, and other compensation, all of
  23                     which must be approved by the Company’s current Compensation
                         Committee comprised of defendants Chang, Nogales, Taylor and
  24                     White and therefore Craver lacks independence from these
                         directors; and
  25
                 f.      Defendant Olson is a partner of the law firm of Munger, Tolles &
  26                     Olson LLP, which provides legal services to the EIX companies.
  27                     The fees paid to Munger, Tolles & Olson LLP for legal services

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                      VERIFIED AMENDED SHAREHOLDER DERIVATIVE COMPLAINT
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                               amounts to millions of dollars a year. The Company admits in its
   1                           proxy filing that the legal services are expected to continue in the
   2                           future, and therefore Olson lacks independence from the other
                               directors of EIX.
   3
                                                        COUNT I
   4
                               Against the Individual Defendants for Breach of Fiduciary Duties
   5

   6          123.   Plaintiff incorporates by reference all preceding and subsequent paragraphs as if

   7 fully set forth herein.

   8          124.   As alleged in detail herein, each of the Individual Defendants had a duty to, inter

   9 alia, exercise good faith to ensure that the Company was operated in a diligent, honest and prudent

  10 manner and, when placed on notice of improper or imprudent conduct by the Company and/or its

  11 employees, exercise good faith in taking action to correct the misconduct and prevent its

  12 recurrence.

  13          125.   As alleged herein, the Individual Defendants knowingly implemented and engaged

  14 in the Company’s illegal conduct of unlawfully depleting EME by the Dividends and the Tax

  15 Sharing Payment, breaching their fiduciary duties of loyalty and good faith.

  16          126.   As a result of the Individual Defendants’ breaches of fiduciary duties, EIX has

  17 sustained damages, as alleged herein.

  18                                            PRAYER FOR RELIEF
  19          WHEREFORE, Plaintiff demands judgment as follows:
  20          A.     Against all of the Individual Defendants and in favor of the Company for the
  21                 amount of damages sustained by the Company as a result of the Individual
                     Defendants’ breaches of fiduciary duties;
  22
              B.     Granting appropriate equitable relief to remedy the Individual Defendants’ breaches
  23                 of fiduciary duties;
  24          C.     Awarding to Plaintiff the costs and disbursements of the action, including
                     reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and
  25

  26          D.     Granting such other and further relief as the Court deems just and proper.

  27

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                         VERIFIED AMENDED SHAREHOLDER DERIVATIVE COMPLAINT
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                          EXHIBIT A
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 36 of 132 Page ID #:197




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                          EXHIBIT B
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                          EXHIBIT C
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                                THE BOARDS     DIRECTORS OF
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                          EXHIBIT D
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 59 of 132 Page ID #:220




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                         Mr.           discussed the 20 I 0 EMG earnings forecast by business line.
          EIX Board and management discussed factors affecting the forecast. Mr. Litzinger described the
          impact of hedging activities on 2010 first quarter earnings and the earnings outlook. He
          responded to questions from the EIX Board. Mr. Litzinger described the impact of liquidity on
          hedging activities. In response to a question from the      Board, Mr. Litzinger discussed the
          potential impact of pending legislation regarding derivatives. The EIX Board and management
          discussed hedging strategy.

                         Mr. Liztinger then discussed EMG wind         issues and      quarter trading
          results.

          EMGSTRATEGY

                                                           strategy discussion and explained the purpose of
          Mr. Litzinger's presentation. Mr.           discussed the Illinois environmental compliance
          agreement requirements and timeline, the objectives of EMG's environmental compliance
          strategy, the scenarios for compliance analyzed by management, and key takeaways from the
          analysis. The       Board and management discussed the factors considered in the analysis and
          the impact of the various options on EMG's business. Mr. Litzinger discussed management's
          plans to       regulatory acceptance of Trona technology, the financial impact of using Trona
          technology, and the key           timeline.

                          Mr.                              City environmental compliance issues, including
          technology options, regulatory uncertainty, and liquidity considerations. He reviewed
          alternatives under consideration, and responded to questions         the     Board.        EIX
          Board and management discussed industry trends in addressing environmental compliance.
          Mr.            explained key risks and sensitivities considered in the analysis of alternatives,
          financial incentives for early retirement of the coal      and the next steps. Mr.
          commented on the significant management attention to this issue.



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                                                                     project, noting
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CONFIDENTIAL                                                                              EIX000267
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 63 of 132 Page ID #:224




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CONFIDENTIAL                                                                          EIX000268
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 64 of 132 Page ID #:225




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                              no further   bmnm~ss,




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CONFIDENTIAL                                                                          EIX000269
Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 65 of 132 Page ID #:226




                          EXHIBIT E
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 66 of 132 Page ID #:227




                                   MINUTES OF JOINT REGULAR MEETING OF
                                       THE BOARDS OF DIRECTORS OF
                                        EDISON INTERNATIONAL AND
                                  SOUTHERN CALIFORNIA EDISON COMPANY 1

                             Held on Thursday, December 2010, at the principal                      located at
                2244 Walnut Grove A venue,          California.

                               Present:         Chairman Craver, 2 Directors Bindra, Chang, Curtis,
                                                Fohrer, 3'4 Freeman, Nogales, Olson, Rosser, Schlosberg,
                                                Sutton, and White

                               Absent:          Cordova

                               Edison International ("EIX") Executive Vice President and General
                               4
                Counsel                     Vice            Gault, 5 and Executive Vice President, Chief
                                                          4
                Financial Officer and            Scilacci; Southern California Edison Company ("SCE")
                President Fielder,4 Senior Vice President and Chief Nuclear Officer Dietrich, 6 Senior
                Vice President House,7 Senior Vice President and General Counsel Pickett,4 Senior
                President Sheppard, 6     Vice President Vasquez; 5 EIX and         Vice President,
                Associate General Counsel, Chief Governance Officer and Corporate Secretary
                Mathews;4 and Edison Mission Group Inc. ("EMG") Chairman, President and Chief
                Executive Officer Litzinger4 and Senior Vice President McFarlan5 met with the Board.

                              Written materials were provided to the Board in advance of and at the
                me:eting. These materials were reviewed during the meeting.


                                               EIX EXECUTIVE SESSION

                               The EIX Board discussed proposed SCE and EMG management changes.




          Redacted: Non-EME Information

                   Not present for the EIX Executive Session or Non-Management Executive Session.

               Redacted: Non-EME Information


CONFIDENTIAL                                                                                                     EIX000244
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 67 of 132 Page ID #:228




                                             REGULAR SESSION
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               Mr. Scilacci reviewed the strategic growth plan goals for SCE and EMG. Management
               responded to questions from the Board. TRedacted: Non-EME Information

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CONFIDENTIAL                                                                                       EIX000245
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 68 of 132 Page ID #:229




         Redacted: Non-EME Information
                                                 Mr. Scilacci presented Edison Mission Energy's
                 ("EME") 2011 capital budget request and five-year capital ton::ca~;t.

                                After discussion, on motion duly made, seconded and unanimously
                carr1ed, the 2011       and EME capital budgets were approved by the SCE and EIX
                Boards, respectively.


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                EMGREPORT

                               Mr. Craver introduced the EMG report, noting that it would include the
                semi-annual fundamental forecast update. Mr. Litzinger reviewed EMG's coal
                dashboard, calling attention to EMG's receipt of the Waukegan 7 plant permit from the
                Illinois                Protection Agency.      reviewed the status of factors affecting
                                  retrofits. Mr. Litzinger reviewed the Homer City plant and wind
                         dashboards, the status of emission credit issues, and energy price forward
                curves. The EIX Board and management discussed factors affecting energy prices.
                Mr. Litzinger presented EMG's fundamental forecast update, reviewing key changes and
                assumptions affecting the forecast. The        Board and management discussed the
                forecast and the impact alternative actions. Management responded to questions from
                the EIX Board.
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CONFIDENTIAL                                                                                               EIX000246
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 69 of 132 Page ID #:230




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CONFIDENTIAL                                                                          EIX000247
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 70 of 132 Page ID #:231




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CONFIDENTIAL                                                                          EIX000248
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 71 of 132 Page ID #:232




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CONFIDENTIAL                                                                          EIX000249
        Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 72 of 132 Page ID #:233




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               ADJOUP'-Ll\ll\1ENT

                             There being no further business, the meeting was adjourned.




               Edison International



               Chairm~
               Southern California Edison Company


               ~- ~ z
               Lead Director
               (Non-Management                      only)


                 '/~~~
               Vice President, Associate General Counsel,
               Chief Governance Officer and Corporate Secretary,
               Edison International and
               Southern California Edison Company




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CONFIDENTIAL                                                                               EIX000250
Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 73 of 132 Page ID #:234




                          EXHIBIT F
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 74 of 132 Page ID #:235




                               MINUTES OF JOINT REGULAR MEETING OF
                                       D'Jfl'1A'II.,Lif~ OF DIRECTORS




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                                         and 2012 barnm.gs
               and Five-Year                 SONGS




CONFIDENTIAL                                                                          EIX000270
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 75 of 132 Page ID #:236




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               2012 GOALS


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CONFIDENTIAL                                                                          EIX000271
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 76 of 132 Page ID #:237




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CONFIDENTIAL                                                                          EIX000272
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 77 of 132 Page ID #:238




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CONFIDENTIAL                                                                                       EIX000273
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 78 of 132 Page ID #:239




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CONFIDENTIAL                                                                          EIX000274
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 79 of 132 Page ID #:240




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CONFIDENTIAL                                                                          EIX000275
Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 80 of 132 Page ID #:241




                          EXHIBIT G
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 81 of 132 Page ID #:242




                 Walnut




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CONFIDENTIAL                                                                            EIX000183
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 82 of 132 Page ID #:243




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CONFIDENTIAL                                                                          EIX000184
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 83 of 132 Page ID #:244




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                              attorney-client privilege, Mr. Adler reported on the      restructuring
               process, discussions with        bondholders' advisors, and factors affecting
               position in negotiations with the advisors. He               Powerton/Joliet bondholders
               are             Mr. Adler responded to questions from the         Board. Mr. Craver
               commented on EIX's position in                 with EME bondholders' advisors.

               OPERATIONAL AND SERVICE EXCELLENCE


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                      Calling     Board's attention to          provided in          of the me:ettng,
               Mr.         reported on       operational excellence, discussed key         and
               performance, and responded to                           Board.




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CONFIDENTIAL                                                                                              EIX000185
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 84 of 132 Page ID #:245




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CONFIDENTIAL                                                                                       EIX000186
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 85 of 132 Page ID #:246




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CONFIDENTIAL                                                                          EIX000187
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 86 of 132 Page ID #:247




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CONFIDENTIAL                                                                          EIX000188
Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 87 of 132 Page ID #:248




                          EXHIBIT H
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 88 of 132 Page ID #:249




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                                         THE BOARDS OF             JU"JloL''-.JU"'


                                                INTERNATIONAL AND



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                   Not       for the SCE discussion      the   Stn~te~~y   Session.




CONFIDENTIAL                                                                                          EIX000165
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 89 of 132 Page ID #:250




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CONFIDENTIAL                                                                          EIX000166
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 90 of 132 Page ID #:251




                                  no further busmes:s,




               Edison International




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CONFIDENTIAL                                                                          EIX000167
Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 91 of 132 Page ID #:252




                           EXHIBIT I
       Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 92 of 132 Page ID #:253

               EDISON
   -
               INTERNATIONAL"'




                                     MINUTES OF JOINT REGULAR MEETING OF
                                         THE BOARDS OF DIRECTORS OF
                                          EDISON INTERNATIONAL AND
                                    SOUTHERN CALIFORNIA EDISON COMP ANY 1

                              Held on Thursday, September 2, 2010, at the principal office located at
                 2244 Walnut Grove Avenue, Rosemead, California.

                                 Present:         Chairman Craver, 2 Directors Bindra, Chang, Cordova,
                                                  Curtis, Fohrer,3.4 Freeman, Nofales, Olson, .Kosse:r,
                                                  Schlosberg, Sutton, and White

                                 Absent:          None

                                 Edison International ("EIX") Executive Vice President and General
                Counsel Adler, 6 Executive Vice President, Chief Financial Officer and Treasurer
                Scilacci, 7 and Senior Vice President David; 8 Southern California Edison Company
                ("SCE") President Fielder,7 Senior Vice President and General Counsel Pickett, Senior
   -            Vice President and Chief Nuclear Officer Sheppard,9 and Senior Vice President Yazdi; 10
                EIX and SCE Vice President, Associate General Counsel, Chief Governance Officer and
                Corporate Secretary Mathews;7 and Edison Mission Group Inc. ("EMG") Chairman,
                President and Chief Executive Officer Litzinger7 met with the Board.

                             Written materials were provided to the Board in advance of and at the
                meeting. These materials were reviewed during the meeting.




           Redacted: Non-EME Information



                    Not present for the Executive Session or the Non-Management Executive Session.

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CONFIDENTIAL                                                                                              EIX000177
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 93 of 132 Page ID #:254




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CONFIDENTIAL                                                                          EIX000178
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 94 of 132 Page ID #:255




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               EMGREPORT

                               Reviewing materials previously provided to the EIX Board, Mr. Litzinger
               reviewed the strategic alternatives discussed at the June Board meeting. He described the

  -            status of key factors affecting the preferred alternatives for the Illinois and Homer City
               coal fleets. He reviewed the wind fleet strategy and the status of factors affecting the
               strategy. He also reported on the status of the emission reduction credit issue for the


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CONFIDENTIAL                                                                                                EIX000179
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 95 of 132 Page ID #:256




               planned Walnut Creek gas plant. He responded to questions from the EIX Board.

                               Mr. Litzinger reviewed management's proposed approach for monitoring
               progress on the EMG strategy with the EIX Board. He identified developments since the
               June Board meeting, and responded to questions from the EIX Board. He explained
               plans in the event of an adverse outcome of pending tax issues. Mr. Craver discussed
               factors affecting the need to refinance the revolving credit facility and investor
               perceptions.

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CONFIDENTIAL                                                                                           EIX000180
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 96 of 132 Page ID #:257




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                                Mr. Nogales reported on the Finance Committee meeting held on
               September 1, 2010. He reported that EMG management reported on: a) investment
               criteria, goals and performance of the EMG wind portfolio; b) the San Juan Mesa and
               Goat Mountain projects and the performance the projects relative to target; and c) the
               overall wind portfolio meeting its target rate of return. Redacted: Non-EME Information
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CONFIDENTIAL                                                                                             EIX000181
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 97 of 132 Page ID #:258




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               ADJOURNMENT
                    ..
                              There being no further business, the meeting was adjourned.




               Edison International



               Chairman of the Board,
               Southern California .I:!Olson Company




               Vice President, Associate General Counsel,
               Chief Governance Officer and Corporate Secretary,
               Edison International and
               Southern California Edison Company




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CONFIDENTIAL                                                                                EIX000182
Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 98 of 132 Page ID #:259




                           EXHIBIT J
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 99 of 132 Page ID #:260




                                 MINUTES OF JOINT
                                         BOARDS    DIRECTORS OF
                                      EDISON INTERNATIONAL AND



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                Not present for the          Session presentations reg,ard.ing the San Onofre Nuclear GeJner;atirtg
                Station               Edison Mission                              and EIX       allocation.




CONFIDENTIAL                                                                                                          EIX000037
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 100 of 132 Page ID #:261




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CONFIDENTIAL                                                                          EIX000038
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 101 of 132 Page ID #:262




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CONFIDENTIAL                                                                          EIX000039
Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 102 of 132 Page ID #:263




                          EXHIBIT K
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 103 of 132 Page ID #:264




  -
                                   MINUTES OF JOINT REGULAR MEETING OF
                                       THE BOARDS OF DIRECTORS OF
                                        EDISON INTERNATIONAL AND
                                  SOUTHERN CALIFORNIA EDISON COMPANY 1

                                     on Thursday, June 24, 2010, at the Bel-Air Bay Club located at
                                     Highway,         Palisades, California.

                               Present:          Chairman Craver, Directors Bindra, Chang, Cordova,
                                                 Curtis, Fahrer, 2•3      Nogales, Olson, Rosser,
                                                 Schlosberg, Sutton, and White

                               Absent:           None

                             Ediso~n International ("EIX") Executive Vice President and General
               Counsel Adler, 3 and           Vice President, Chief Financial Officer and Treasurer
                        3
               Scilacci; EIX and Southern California Edison Company ("SCE") Vice President,
               Associate General Counsel, Chief Governance Officer       Corporate :sec:retary
                          4
               Mathews; and Edison Mission Group Inc. ("EMG") Chairman, President and Chief

  -            Executive Officer Litzinger5 met with the Board.

                             Written materials were provided to the Board in advance
               and reviewed during the meeting.


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                  Not present for the First Executive Session or the discussion of SCE's 2012 General Rate Case held in
                  the Second Executive Session.




CONFIDENTIAL                                                                                                              EIX000168
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 104 of 132 Page ID #:265




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CONFIDENTIAL                                                                          EIX000169
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 105 of 132 Page ID #:266




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CONFIDENTIAL                                                                          EIX000170
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 106 of 132 Page ID #:267




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                              Reviewing materials previously provided to the Board, management and
               the Board en;ga~~ed in an                and discussion of       2012
                     EMG's strategic alternatives, and          and EMG financial forecasts.


               ADJOURNMENT

                                      being no further       the meeting was adjourned.


                                   1-~
                 mrman of the Board,
               Edison International



               Chai        the Board,
               Southern California Edison Company



                    Presidc~nt, As~;ocJtate
                                        General Counsel,
                     Governance Officer and Corporate Sec~retary
               Edison International and
               Southern California Edison Company




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CONFIDENTIAL                                                                                         EIX000171
Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 107 of 132 Page ID #:268




                           EXHIBIT L
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 108 of 132 Page ID #:269




                                                JOINT SPECIAL        OF
                                        THE BOARDS OF DIRECTORS OF
                                         EDISOtN INTERNATIONAL AND




               SONGS REPORT


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                 Present   for theEMG




CONFIDENTIAL                                                                          EIX000020
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 109 of 132 Page ID #:270




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               EMGREPORT

                              Mr. Pizarro reported on efforts to select a financial advisor to evaluate options
                   addressing Edison Mission Energy's debt maturities.        reported on the receipt of
               unsolicited inquiries          asset purchases and management's evaluation of the inquiries.
               The       Board and               discussed the parties making the inquiries and polten'tiaJ
               financial advisors.

                              Mr. Pizarro described a possible technical default on the Homer City lease,
               negotiations with the lessor and potential consequences.     responded to questions from the
                   Board.

                              Mr. Pizarro reported on the Environmental Protection Agency's draft
               HAPs/MACT rule and recent court decision in the Midwest Generation LLC New Source
               Review litigation.


               ADJOURNMENT

                              There being no further business, the meeting was adjourned.



               Chairman of the Board,
               Edison International



               President,
               Southern California Edison Company



               Vice President, Associate General Counsel,
               Chief Governance Officer and Corporate Secretary,
               Edison International and
               Southern California Edison Company




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CONFIDENTIAL                                                                                                      EIX000021
Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 110 of 132 Page ID #:271




                          EXHIBIT M
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 111 of 132 Page ID #:272




                                                   OF JOINT REGULAR
                                                   BOARDS OF DIRECTORS OF




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                Not present for the Executive Session and left the me,etmtg

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CONFIDENTIAL                                                                          EIX000024
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 112 of 132 Page ID #:273




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CONFIDENTIAL                                                                          EIX000025
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 113 of 132 Page ID #:274




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CONFIDENTIAL                                                                          EIX000026
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 114 of 132 Page ID #:275




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CONFIDENTIAL                                                                          EIX000027
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 115 of 132 Page ID #:276




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CONFIDENTIAL                                                                          EIX000028
Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 116 of 132 Page ID #:277




                          EXHIBIT N
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 117 of 132 Page ID #:278




                                          MINUTES OF JOINT                 OF
                                                  BOARDS OF DIRECTORS OF




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CONFIDENTIAL                                                                          EIX000035
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 118 of 132 Page ID #:279




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CONFIDENTIAL                                                                          EIX000036
Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 119 of 132 Page ID #:280




                          EXHIBIT O
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 120 of 132 Page ID #:281




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CONFIDENTIAL                                                                          EIX000228
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 121 of 132 Page ID #:282



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CONFIDENTIAL                                                                          EIX000229
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 122 of 132 Page ID #:283




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CONFIDENTIAL                                                                          EIX000230
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 123 of 132 Page ID #:284




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CONFIDENTIAL                                                                          EIX000231
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 124 of 132 Page ID #:285




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CONFIDENTIAL                                                                          EIX000232
Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 125 of 132 Page ID #:286




                           EXHIBIT P
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 126 of 132 Page ID #:287




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CONFIDENTIAL                                                                          EIX000251
       Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 127 of 132 Page ID #:288


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CONFIDENTIAL                                                                               EIX000252
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 128 of 132 Page ID #:289




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CONFIDENTIAL                                                                          EIX000253
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 129 of 132 Page ID #:290


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CONFIDENTIAL                                                                          EIX000254
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CONFIDENTIAL                                                                          EIX000255
      Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 131 of 132 Page ID #:292




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CONFIDENTIAL                                                                          EIX000256
Case 2:14-cv-01058-ODW-AS Document 10 Filed 03/07/14 Page 132 of 132 Page ID #:293




   1                                   CERTIFICATE OF SERVICE

   2         I hereby certify that on March 7, 2014, I electronically filed the foregoing with the Clerk of

   3 the Court using the CM/ECF system, which will send notification of such filing to the e-mail

   4 addresses denoted on the Electronic Mail Notice List, and I hereby certify that I have e-mailed the

   5 foregoing document to the non-CM/ECF participants indicated on the Manual Notice List.

   6
       Dated: March 7, 2014                                 /s/ David E. Bower
   7                                                        David E. Bower
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